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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA

       Plaintiff

                       v.
                                                      Criminal No.          12CR00620-01 (ADC)
DEWIN SANCHEZ-SERRANO

       Defendant


                                SUPPLEMENTAL MOTION

         NOTIFYING ADDITIONAL SUPERVISED RELEASE VIOLATIONS

TO THE HONORABLE AIDA DELGADO-COLON
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

      COMES NOW, RAY RIVERA-NAVAS, U.S. PROBATION OFFICER OF THIS

HONORABLE COURT, informing that on June 30, 2017, Mr. Dewin Sanchez-Serrano

commenced his supervised release term, scheduled to expire on June 29, 2020. On December

27, 2018 an informative motion notifying supervised release violations was filed under docket

number 52. As of that filing, the United States Probation Office has identified that Mr. Sanchez-

Serrano incurred in additional supervised release violations, as follows:

      1. Mandatory Condition # 1 “You must not commit another federal, state or local

          crime”.

          According to criminal complaint filed at the United States District Court for the

          District of Puerto Rico with case number 18-1563(m), Mr. Dewin Sanchez-Serrano

          violated Title 18 United States Sentencing Code Section 922 (g)(1). Based on video

          surveillance of the Like Liquor Store in San Juan, on October 8, 2018, at

          approximately 5:30 am, Mr. Dewin Sanchez-Serrano entered the establishment and
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           used a firearm to fire shots that killed one person and injured four others.

           On March 14, 2019 Mr. Sanchez-Serrano appeared in the United States District Court

           for the District of Puerto Rico before Magistrate Judge Marshal D. Morgan and a

           Detention Hearing was set for March 28, 2019 at 9:30 am.



       WHEREFORE, in view of the additional violation and unless ruled otherwise, it is

respectfully requested that the content of this motion be made part of the motion filed on

December 27, 2018, thereupon, that he be dealt with pursuant to law.

        In San Juan, Puerto Rico, this March 18, 2019.


                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 18, 2019, I electronically filed the foregoing

motion with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to the parties in this case.

        In San Juan, Puerto Rico, March 18, 2019.


                                               Respectfully submitted,

                                               LUIS O. ENCARNACION, Chief
                                               U.S. PROBATION OFFICER


                                              s/ Ray Rivera-Navas
                                              Ray Rivera-Navas
                                              U.S. Probation Officer
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